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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS


CATHERNE A. JORITZ,

                            Plaintiff,

vs.                                                  Case No. 17-4002-SAC-KGS

UNIVERSITY OF KANSAS,

                            Defendant.


                                       O R D E R

       This case is before the court upon defendant’s motion for

extension of time to file its reply in support of its motion to

dismiss.       Doc.       No.   22.     Plaintiff         has   not    filed     a    timely

response to the motion.

       Defendant seeks 21 days from the resolution of plaintiff’s

motion to amend to file a reply in support of the motion to

dismiss.      Since plaintiff’s motion to amend was denied without

prejudice on January 17, 2018, this would give defendant time

until February 7, 2018 to file a reply.                     Plaintiff, however, may

file another motion to amend which could place defendant in the

same    position      which     in    part   led     to    defendant’s      motion      for

extension of time.

       The court shall grant plaintiff time until February 21,

2018    to   file     a    motion     to     amend    with      a     proposed       amended

complaint.      Defendant may have 21 days after the resolution of


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the motion to amend to file a reply in support of its motion to

dismiss.

     IT IS SO ORDERED.

     Dated this 30th day of January, 2018, at Topeka, Kansas.


                     s/Sam A. Crow
                     Sam A. Crow, U.S. District Senior Judge




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